
PER CURIAM.
We have for review State v. Cummings, No. 99-00519, 1999 Fla.App. LEXIS 11082 (Fla. 2d DCA Aug. 20,1999), in which the Second District affirmed the imposition of a guidelines sentence on a defendant who qualified as a prison releasee reoffender, relying on State v. Cotton, 728 So.2d 251 (Fla. 2d DCA 1998). In so doing, the Second District acknowledged conflict with Woods v. State, 740 So.2d 20 (Fla. 1st DCA 1999), and McKnight v. State, 727 So.2d 314 (Fla. 3d DCA 1999). We have jurisdiction. . See art. V, § 3(b)(3), Fla. Const.
We recently approved the First District’s decision in Woods, holding that the Act, as properly interpreted by the First District, does not violate separation of powers, and rejecting other constitutional challenges to the Act. See State v. Cotton, Nos. SC94996 &amp; SC95281, — So.2d -, 2000 WL 766521 (Fla. June 15, 2000). Accordingly, for the reasons expressed in Cotton, we quash the Second District’s decision in this ease, and remand for further *915proceedings consistent with our opinion in Cotton. Because it appears that the respondent entered a plea of guilty based upon the trial court’s indication that respondent, upon such plea, would not be sentenced pursuant to the Act, upon remand to the trial court, respondent shall have the right to withdraw his guilty plea.
It is so ordered.
WELLS, C.J., and SHAW, HARDING, ANSTEAD, PARIENTE and LEWIS, JJ., concur.
QUINCE, J., dissents with an opinion.
